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9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12
13
14   UNITED STATES OF AMERICA,                    )       No.: CR 06-0428 SI
                                                  )
15           Plaintiff,                           )       [PROPOSED] ORDER EXCLUDING
                                                  )       TIME FROM SPEEDY TRIAL ACT
16      v.                                        )       CALCULATION
                                                  )
17   THEODORE HONNIBALL,                          )
                                                  )
18           Defendant.                           )
                                                  )
19
20
21           This matter came on for hearing before the Court on June 21, 2006. Defendant Theodore
22   Honniball appeared in custody represented by Lewis Romero. The United States appeared
23   through Assistant U.S. Attorney Andrew M. Scoble. Defendant Honniball was released on
24   conditions of bond agreed upon by the parties.
25           The parties represented that the government has previously provided voluminous
26   discovery materials (according to the government, it includes more than 150,000 pages of
27   images, plus DVD’s and CD-ROMs as well as videotapes) to other defense counsel for other
28   defendants charged in this and related cases. (The Court is familiar with the underlying case,


     ORDER EXCLUDING TIME
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1    United States v. Enrique Chan, et al., CR 05-0375 SI, which stemmed from a wiretap
2    investigation and involved numerous defendants.) The parties further represented that
3    defendant’s counsel was making his first appearance in this case on June 21, 2006. Defense
4    counsel and the defendant requested the continuance and agreed that a Speedy Trial Act
5    exclusion is appropriate under 18 U.S.C. § 3161(h)(8), based upon counsel’s need to review the
6    discovery and become familiar with the case, and that it was necessary to provide reasonable
7    time for effective preparation, taking into account the exercise of due diligence.
8           The next date for this case is September 1, 2006 at 11:00 a.m. before United States
9    District Judge Susan Illston.
10          Accordingly, THE COURT FINDS that a continuance from June 21, 2006 through and
11   including September 1, 2006 is appropriate, and that the ends of justice served by granting such a
12   continuance outweigh the best interest of the public and the defendant in a speedy trial. THE
13   COURT FURTHER FINDS that failure to grant such a continuance would deny the defendant
14   and his counsel the reasonable time necessary for effective preparation of the case (including
15   review of the voluminous discovery), taking into account the exercise of due diligence. THE
16   COURT THEREFORE ORDERS that the period from June 21, 2006 through September 1, 2006
17   is excludible time within the meaning of 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).
18
               8/8/06
19   DATED:
                                           HON. NANDOR VADAS
20                                         United States Magistrate Judge
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     ORDER EXCLUDING TIME                             2
